         Case 14-31229-sgj15             Doc 109 Filed 04/29/14 Entered 04/29/14 11:37:37                           Desc
                                           Main Document     Page 1 of 2

                                                                                                      U.S. BANKRUPTCY COURT
                                                                                                   NORTHERN DISTRICT OF TEXAS


                                                                                                       ENTERED
                                                                                                   TAWANA C. MARSHALL, CLERK
                                                                                                       THE DATE OF ENTRY IS
                                                                                                      ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 29, 2014
______________________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
     IN RE:                                §
                                           § Case No. 14-31229-sgj-15
     MTGOX CO., LTD. (a/k/a MtGox KK),     §
                                           § (Chapter 15)
           Debtor in a Foreign Proceeding. §
                                           §
                                           §

                      ORDER GRANTING CONTINUANCE OF BRIEFING DEADLINE

                Upon the Foreign Representative’s Motion to Continue Briefing Deadline [Docket No.

     107] (the “Motion”),1 seeking to adjourn sine die the deadline by which any interested party may

     submit a letter brief on the issue of the scope of the automatic stay under Japanese bankruptcy

     law, which is currently set for April 29, 2014 at noon (prevailing Central Time), to a later date to

     be determined; and the Court having determined that the relief requested in the Motion is in the

     best interests of the Debtor, its estate, its creditors, and other parties in interest; and it appearing


     1
         Capitalized terms referred to but not defined herein shall have the meanings ascribed to them in the Motion.

     ORDER GRANTING CONTINUANCE OF BRIEFING DEADLINE – PAGE 1

     Gardere01 - 6444750v.1
 Case 14-31229-sgj15            Doc 109 Filed 04/29/14 Entered 04/29/14 11:37:37               Desc
                                  Main Document     Page 2 of 2

that proper and adequate notice of the Motion has been given and that no other or further notice

is necessary; and upon the record herein; and after due deliberation thereon; and good and

sufficient cause appearing therefore, it is hereby

          ORDERED, ADJUDGED AND DECREED that:

          1.        The Motion is GRANTED.

          2.        The deadline for submission of the Stay Briefs is hereby adjourned sine die.

                                      # # # END OF ORDER # # #

Prepared and Submitted by:

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/s/ Marcus A. Helt
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Representative of MtGox Co., Ltd.,
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ORDER GRANTING CONTINUANCE OF BRIEFING DEADLINE – PAGE 2

Gardere01 - 6444750v.1
